             Case 24-40261-can7                    Doc 1      Filed 02/29/24 Entered 02/29/24 11:44:40                        Desc Main
                                                             Document      Page 1 of 78
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Western District of Missouri        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                              Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Bradley
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          James
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Carlson
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                           2    7    0    7
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                      _________________________________________________                    _________________________________________________
      Identification Number           EIN                                                                  EIN
      (EIN), if any.
                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:


                                           1722 Madison Ave                                               _________________________________________________
                                           _________________________________________________
                                           Number     Street                                              Number     Street


                                           _________________________________________________              _________________________________________________


                                           Kansas City                          MO        64108
                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code

                                           Jackson County                                                 _________________________________________________
                                           _________________________________________________
                                           County                                                         County


                                           If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                    any notices to this mailing address.


                                           _________________________________________________              _________________________________________________
                                           Number     Street                                              Number     Street

                                           _________________________________________________              _________________________________________________
                                           P.O. Box                                                       P.O. Box

                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                     Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I         Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other           have lived in this district longer than in any other
                                              district.                                                      district.

                                            I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
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 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            
                                            ✔
                                              Chapter 7
                                             Chapter 11
                                             Chapter 12
                                             Chapter 13

 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for    
                            ✔ No
      bankruptcy within the
      last 8 years?          Yes.             District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1       _______________________________________________________                                Case number (if known)_____________________________________
               First Name       Middle Name             Last Name




Pa rt 3 :    Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor                 
                                              ✔ No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________         _______     __________________________
                                                       City                                                   State       ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above
                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13. Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
                                              
                                              ✔ No. I am not filing under Chapter 11.
    defined by 11 U.S. C. §
    1182(1)?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    For a definition of small
    business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
    11 U.S.C. § 101(51D).                             Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :    Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                    
                                              ✔ No
    property that poses or is
    alleged to pose a threat                   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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Debtor 1       _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Pa rt 5 :    Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                  deficiency that makes me                                          deficiency that makes me
                                                                  incapable of realizing or making                                  incapable of realizing or making
                                                                  rational decisions about finances.                                rational decisions about finances.
                                               Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                  to be unable to participate in a                                  to be unable to participate in a
                                                                  briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                  through the internet, even after I                                through the internet, even after I
                                                                  reasonably tried to do so.                                        reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                  duty in a military combat zone.                                   duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                                   
                                                   ✔ No. Go to line 16b.
                                                    Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                   
                                                   ✔ Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17. Are you filing under
    Chapter 7?                                 No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                        No
                                       ✔
    administrative expenses
    are paid that funds will be         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                      1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                     
                                              ✔ 50-99                                     5,001-10,000                           50,001-100,000
    owe?                                       100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19. How much do you                            $0-$50,000                               
                                                                                         ✔ $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                         
                                                                                         ✔ $10,000,001-$50 million                $1,000,000,001-$10 billion
    to be?                                     $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Bradley James Carlson
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    02/29/2024
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Bradley McCormack                                             Date          _________________
                                                                                                                                02/29/2024
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Bradley McCormack
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Sader Law Firm, LLC
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 2345 Grand Blvd.
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Suite 2150
                                                _________________________________________________________________________________________________

                                                 Kansas City                                                     MO            64108
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 816-561-1818
                                                              ______________________________         Email address
                                                                                                                     bmccormack@saderlawfirm.com
                                                                                                                     _________________________________________



                                                 54338                                                           MO
                                                ______________________________________________________ ____________
                                                Bar number                                              State




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 Fill in this information to identify your case:

 Debtor 1
                     Bradley James Carlson
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Missouri District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 2,395,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 2,096,194.42
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 4,491,194.42
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 2,238,724.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 8,457,151.00
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 10,695,875.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 5,784.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 2,718.93
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $_____________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $_____________________



    9d. Student loans. (Copy line 6f.)                                                                     $_____________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as            $_____________________
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                    $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
             Case 24-40261-can7                                  Doc 1            Filed 02/29/24 Entered 02/29/24 11:44:40                                                                   Desc Main
                                                                                 Document     Page 10 of 78

Fill in this information to identify your case and this filing:

                     Bradley James Carlson
Debtor 1
                     First Name              Middle Name                 Last Name

Debtor 2
(Spouse, if filing)    First Name               Middle Name                 Last Name


United States Bankruptcy Court for the: Western District of
Missouri
                                                                                                                                                                                                        Check if this is
Case number                                                                                                                                                                                             an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 4963 Ward Parkway                                                          Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Kansas City MO             64112
                                                                                   Land                                                                         $ 2,395,000.00                      $ 2,395,000.00
            City              State    ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Jackson County                                                         Other                                                                        entireties, or a life estate), if known.

            County                                                               Who has an interest in the property? Check
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤       $ 2,395,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes




                                                                                                                                                                                                                page 1 of 6
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                 First Name          Middle Name         Last Name
                                                                                  Document     Page 11 of 78      Case number(if known)



     4.1 Make:Vespa                                                               Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one                                                                           amount of any secured claims onSchedule D:
           Model:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                              2020
                                                                                       Debtor 2 only
            Other information:                                                                                                                                  Current value of the                Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                               entire property?                    portion you own?
            Condition:Good; VIN No.:
            ZAPM818G6L5801264;                                                         At least one of the debtors and another
                                                                                                                                                                $ 2,000.00                          $ 2,000.00
                                                                                      Check if this is community property (see
                                                                                  instructions)
     4.2 Make:Vespa                                                               Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one                                                                           amount of any secured claims onSchedule D:
           Model:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                              2020
                                                                                       Debtor 2 only
            Other information:                                                                                                                                  Current value of the                Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                               entire property?                    portion you own?
            Condition:Good; VIN NO.:
            ZAPM818G2L5801200;                                                         At least one of the debtors and another
                                                                                                                                                                $ 2,000.00                          $ 2,000.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                 $ 4,000.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

         Couch set, dining room Set with table and chairs, kitchen appliances; outdoor furniture; 3 mattresses; gun safe;
                                                                                                                                                                                                        $ 18,007.00
         tool chest; 3 electric blowers; 3 grills
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

      3 TVs, IPhone                                                                                                                                                                                     $ 125.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...

      Outdoor Artwork, 2 Paintings                                                                                                                                                                      $ 2,750.00
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...

      Snow Ski's(at former business location)                                                                                                                                                           $ 2,000.00
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...

         3 Handguns(Taurus Judge); Handgun(Smith & Wesson 40mm); Handgun(Smith & Wesson 38mm);
                                                                                                                                                                                                        $ 6,300.00
         Handgun(Beretta 9mm M9A3); Handgun(Beretta 9mm Brigdier); 3 Assault Rifles; 3 Shot Guns; Rifle




                                                                                                                                                                                                                      page 2 of 6
            Case 24-40261-can7                                        Doc 1             Filed 02/29/24 Entered 02/29/24 11:44:40 Desc Main
Debtor 1         Bradley James Carlson
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  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

      Clothing                                                                                                                                                                                       $ 2,500.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

      Rolex Yachtmaster; Rolex Submariner; Breitling Navitimer; Breitiling Bentley                                                                                                                   $ 24,194.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 55,876.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Bank of America; Acct. No. 2707                                                                                                  $ 36.66

        17.2. Checking account:                                     Pinnacle Bank, Acct. No. 4743 - Empirical Prime - Payroll                                                                        $ Unknown

        17.3. Checking account:                                     Pinnacle Bank, Acct. No. 4370 - MAG Trucks - Reserve                                                                             $ Unknown

        17.4. Checking account:                                     Central Bank, Acct. No. 9724 MAG Trucks                                                                                          $ Unknown

        17.5. Checking account:                                     Central Bank, Acct. No. 2646 - Empirical Prime                                                                                   $ Unknown

        17.6. Checking account:                                     Pinnacle Bank, Acct. No. 5922 - Empirical Prime - Operations                                                                     $ Unknown

        17.7. Checking account:                                     Pinnacle Bank, Acct. No. 4446 - MAG Trucks - Operations                                                                          $ Unknown

        17.8. Checking account:                                     Central Bank, Acct. No. 9678 - APEX Specialty Vehicles                                                                           $ Unknown

        17.9. Checking account:                                     Enterprise Bank, Acct. No. 6897 - Payroll - Empirical Prime                                                                      $ Unknown

        17.10. Checking account:                                    Enterprise Bank, Acct. No. 6918 - Operations - Empirical Prime                                                                   $ Unknown

        17.11. Checking account:                                    Central Bank, Acct. No. 2553 - Reserve - MAG Trucks                                                                              $ Unknown

        17.12. Checking account:                                    Enterprise Bank, Acct. No. 6942 - Payroll - APEX Specialty Vehicles                                                              $ Unknown

        17.13. Checking account:                                    Pinnacle Bank, Acct. No. 4727 - MAG Trucks - Payroll                                                                             $ Unknown

        17.14. Checking account:                                    Enterprise Bank, Acct. No. 6950 - Payroll - MAG Trucks                                                                           $ Unknown

                                                                                                                                                                                                                   page 3 of 6
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       17.15. Checking account:                         Enterprise Bank, Acct. No. 6969 - Operations - MAG Trucks                                  $ Unknown

       17.16. Checking account:                         Pinnacle Bank, Acct. No. 2889 - APEX Specialty Vehicles - Operations                       $ Unknown

       17.17. Checking account:                         Pinnacle Bank, Acct. No. 4735 - APEX Specialty Vehicles - Payroll                          $ Unknown

       17.18. Checking account:                         Enterprise Bank, Acct. No. 6934 - Operations - APEX Specialty Vehicles                     $ Unknown

       17.19. Checking account:                         Central Bank, Acct. No. 0601 - Operating - Prime Staffing                                  $ Unknown

       17.20. Checking account:                         Academy Bank Acct. No. 4685 - Operating - Sapphire Capital                                 $ Unknown

       17.21. Checking account:                         Central Bank, Acct. No. 9046 - RPM Driveaway                                               $ Unknown

       17.22. Checking account:                         Central Bank, Acct. No. 4304 - EP Properties III                                           $ Unknown

       17.23. Checking account:                         Pinnacle Bank, Acct. No. 4867 - Operations - RPM Driveaway                                 $ Unknown

       17.24. Checking account:                         Pinnacle Bank, Acct. No. 4693 - Payroll - RPM Driveaway                                    $ Unknown

       17.25. Checking account:                         Central Bank, Acct. No. 9011 - Luxus Builders                                              $ Unknown

       17.26. Checking account:                         Pinnacle Bank, Acct. No. 4701 - Luxus Builders                                             $ Unknown

       17.27. Checking account:                         Central Bank, Acct. No. 0563 - EP Properties I                                             $ Unknown

       17.28. Checking account:                         Central Bank, Acct. No. 4011 - EP Properties II                                            $ Unknown

       17.29. Checking account:                         Enterprise Bank, Acct. No. 5819 - Payroll - Mulungas I                                     $ Unknown

       17.30. Checking account:                         Pinnacle Bank, Acct. No.4875 - Mulungas I                                                  $ Unknown

       17.31. Checking account:                         Enterprise Bank, Acct. No. 3493 - Mulungas II                                              $ Unknown

       17.32. Checking account:                         Pinnacle Bank, Acct. No. 4883 -Mulungas II                                                 $ Unknown

       17.33. Other financial account:                  UMB; Acct. No. 6083                                                                        $ 1,253.00

       17.34. Savings account:                          Bank of America, Acct. No. 8246                                                            $ 0.00

       17.35. Savings account:                          Pinnacle Bank, Acct. No. 4602 - MAG Trucks - Savings                                       $ Unknown

       17.36. Savings account:                          Pinnacle Bank, Acct. No. 4610 - Empirical Prime - Savings                                  $ Unknown

       17.37. Savings account:                          Enterprise Bank, Acct. No. 2926 - Savings- Empirical Prime                                 $ Unknown

       17.38. Savings account:                          Central Bank, Acct. No. 5175- APEX Specialty Vehicles -Savings                             $ Unknown

       17.39. Savings account:                          Pinnacle Bank, Acct. No. 4735 - APEX Specialty Vehicles -Savings                           $ Unknown

  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
       Name of entity:                                                                                                           % of ownership:
       Empirical Prime                                                                                                           100        %      $ Unknown
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately




                                                                                                                                                                page 4 of 6
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  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
           Yes. Give specific information about them...
       Bradley James Carlson (Revocable Trust, Acct. No., Lincoln Financial Group 100 North Greene St, Greensboro,                     $ Unknown
       NC 27401; Policy No. T400309174
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:             $ 0.00
                                                                                                                 State:               $ 0.00
                                                                                                                 Local:               $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

           No
           Yes. Give specific information....

       MAG, Mulungas II, EP Properties II, Empirical Prime, Lusux Builders, RPM Driveaway, APEX Specialty,
                                                                                                                                       $ 2,027,528.76
       Mulungas I, Sapphire Capital
  31. Interests in insurance policies
           No
           Yes. Name the insurance company of each policy and list its value....
       Company name:                                                                          Beneficiary:                            Surrender or
                                                                                                                                      refund value:
       Protective Life Insurance Co., P.O. Box 12687, Birmingham, AL 35202;                   Bradley Carlson                         $ 7,000.00
       Policy No. B01035610



                                                                                                                                                      page 5 of 6
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                  First Name            Middle Name           Last Name
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   32. Any interest in property that is due you from someone who has died
               No
               Yes. Give specific information....
   33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
               No
               Yes. Give specific information....
   34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
          off claims
               No
               Yes. Give specific information....
   35. Any financial assets you did not already list
               No
               Yes. Give specific information...

          Office Equipment                                                                                                                                                                          $ 500.00

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
     you have attached for Part 4. Write that number here...........................................................................................................................................➤         $ 2,036,318.42


 Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

   37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

   46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

   53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                    $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                               $ 2,395,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 4,000.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 55,876.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 2,036,318.42
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 2,096,194.42                      Copy personal property total➤       +$
                                                                                                                                                                                                             2,096,194.42
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                      $ 4,491,194.42




                                                                                                                                                                                                                  page 6 of 6
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                                                                 Document     Page 16 of 78
 Fill in this information to identify your case:

                     Bradley James Carlson
 Debtor 1          __________________________________________________________________
                     First Name                 Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Missouri District of __________
                                                                                       (State)
 Case number
  (If known)
                     ___________________________________________                                                                                     Check if this is an
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                  4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the                     Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own                          exemption you claim

                                                              Copy the value from                      Check only one box
                                                              Schedule A/B                             for each exemption
                 Household Goods - Couch set, dining room Set with                                                                    Mo. Rev. Stat. § 513.430 1.(1)
 Brief        table and chairs, kitchen appliances; outdoor
 description: furniture; 3 mattresses; gun safe; tool chest; 3
                                                                         18,007.00
                                                                        $________________        
                                                                                                 ✔ $ ____________
                                                                                                     3,000.00
                 electric blowers; 3 grills                                                       100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:         6
                 Collectibles Of Value - Outdoor Artwork, 2 Paintings                                                                 Mo. Rev. Stat. § 513.430.1(3)
 Brief
 description:
                                                                          2,750.00
                                                                        $________________           600.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:      8
              Firearms - 3 Handguns(Taurus Judge);                                                                                    513.430. 1.(12)
 Brief        Handgun(Smith & Wesson 40mm); Handgun(Smith
 description: & Wesson 38mm); Handgun(Beretta 9mm M9A3);                $________________
                                                                          6,300.00               
                                                                                                 ✔ $ ____________
                                                                                                     1,500.00
              Handgun(Beretta 9mm Brigdier); 3 Assault Rifles; 3                                  100% of fair market value, up to
 Line from Shot Guns; Rifle                                                                          any applicable statutory limit
 Schedule A/B:           10

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                              page 1 of __
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Debtor         Bradley James Carlson Document
              _______________________________________________________
                                                                      Page 17 of Case
                                                                                  78 number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                               Amount of the                       Specific laws that allow exemption
                                                                      Current value of the   exemption you claim
         on Schedule A/B that lists this property                     portion you own
                                                                     Copy the value from    Check only one box
                                                                      Schedule A/B           for each exemption
               Jewelry - Rolex Yachtmaster; Rolex Submariner;                                                                     Mo. Rev. Stat. § 513.430 1.(2)
Brief        Breitling Navitimer; Breitiling Bentley
description:
                                                                        24,194.00
                                                                       $________________        500.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:           12

Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                 2
                                                                                                                                                   page ___ of __  2
                Case 24-40261-can7                              Doc 1      Filed 02/29/24 Entered 02/29/24 11:44:40                               Desc Main
                                                                          Document     Page 18 of 78
  Fill in this information to identify your case:

  Debtor 1           Bradley James Carlson
                     First Name                                   Last Name
                                             Middle Name

  Debtor 2
  (Spouse, if filing) First Name                  Middle Name
                                                                       Last Name



  United States Bankruptcy Court for the: Western District of Missouri

  Case number                                                                                                                                               Check if this is
  (if know)                                                                                                                                                 an amended
                                                                                                                                                            filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:        List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A                    Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of                   Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not                    collateral that   portion If any
                                                                                                              deduct the value            supports this
                                                                                                              of collateral.              claim
 2.1                                                                Describe the property that secures the claim: $ 2,238,724.00          $ 2,395,000.00    $ 0.00


        Pinnacle Bank
                                                                  4963 Ward Parkway, Kansas City, MO 64112 - $2,395,000.00
        Creditor’s Name
        P.O. Box 461209
        Number                                                   As of the date you file, the claim is: Check all
                     Street
        Papillion NE              68046                          that apply.
        City         State        ZIP Code                          Contingent
        Who owes the debt? Check one.                               Unliquidated
          Debtor 1 only                                             Disputed
          Debtor 2 only
                                                                 Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                    An agreement you made (such as mortgage or
          At least one of the debtors and another                   secured car loan)
                                                                    Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                       Judgment lien from a lawsuit
                                                                    Other (including a right to offset)
        Date debt was incurred 12-21-2022
                                                                 Last 4 digits of account number 1222

       Add the dollar value of your entries in Column A on this page. Write that number here:                            $ 2,238,724.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                                 Schedule D: Creditors Who Have Claims Secured by Property                                         page 1 of 1
                Case 24-40261-can7                               Doc 1     Filed 02/29/24 Entered 02/29/24 11:44:40                              Desc Main
                                                                          Document     Page 19 of 78
   Fill in this information to identify your case:

                   Bradley James Carlson
   Debtor 1
                   First Name                                      Last Name
                                            Middle Name

   Debtor 2
   (Spouse, if filing) First Name                  Middle Name
                                                                         Last Name



   United States Bankruptcy Court for the: Western District of Missouri

   Case number                                                                                                                                        Check if this is
   (if know)                                                                                                                                          an amended
                                                                                                                                                      filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                          Last 4 digits of account number
         1st State                                                                                                                                             $ 0.00
         Nonpriority Creditor's Name
                                                                               When was the debt incurred? 01-04-2021

         206 North 5th Street                                                  As of the date you file, the claim is: Check all that apply.
         Number                                                                   Contingent
                       Street
         Saint Charles MO               63301                                     Unliquidated
         City                   State   ZIP Code                                  Disputed
         Who owes the debt? Check one.
             Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
             Debtor 2 only                                                       Student loans
             Debtor 1 and Debtor 2 only                                           Obligations arising out of a separation agreement or divorce
                                                                                  that you did not report as priority claims
             At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community                           debts
             debt                                                                Other. Specify
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                                     page 1 of 20
                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name       Middle Name       Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
                                                                                                         11:44:40         Desc Main
                                                                                                             number(if known)

                                                                        Document     Page 20 of 78
  4.2                                                                   Last 4 digits of account number 1858
          American Express                                                                                                                $ 11,992.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 06-05-2017

          P.O. Box 297871                                               As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Fort Lauderdale FL             33329                             Unliquidated
          City                   State   ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                   Last 4 digits of account number 2959
          American Express                                                                                                                  $ 820.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 12-30-2023

          P.O. Box 297871                                               As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Fort Lauderdale FL             33329                             Unliquidated
          City                   State   ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                   Last 4 digits of account number 7904
          American Express                                                                                                                    $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 10-26-2007

          P.O. Box 297871                                               As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Fort Lauderdale FL             33329                             Unliquidated
          City                   State   ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                       page 2 of 20
                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name            Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
                                                                                                          11:44:40         Desc Main
                                                                                                              number(if known)

                                                                         Document     Page 21 of 78
  4.5                                                                    Last 4 digits of account number
          APEX Specialty Vehicles, LLC                                                                                                       $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          601 NW Jefferson Street                                        As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Blue Springs MO                 64014                             Unliquidated
          City                 State      ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                    Last 4 digits of account number 1959
          Bank of America                                                                                                                    $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 03-19-2016

          P.O. Box 2240                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Brea CA              92822                                        Unliquidated
          City      State      ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.7                                                                    Last 4 digits of account number 0182
          Bank of America                                                                                                                    $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 10-27-2015

          1825 E Buckeye Rd                                              As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Phoenix AZ             85034                                      Unliquidated
          City         State     ZIP Code                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                     page 3 of 20
                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name            Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
                                                                                                          11:44:40         Desc Main
                                                                                                              number(if known)

                                                                         Document     Page 22 of 78
  4.8                                                                    Last 4 digits of account number 3543
          Capital One                                                                                                                        $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 10-26-2023

          11013 W Broad St                                               As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Glen Allen VA                23060                                Unliquidated
          City                State    ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.9                                                                    Last 4 digits of account number
          Carlson Custom House, LLC                                                                                                          $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1000 Walnut Street                                             As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Suite 1400                                                        Unliquidated
                                                                            Disputed
          Kansas City MO                 64106
                                                                         Type of NONPRIORITY unsecured claim:
          City                 State     ZIP Code
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Carlson Estate, LLC                                               Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1000 Walnut Street                                             As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Suite 1400                                                        Unliquidated
                                                                            Disputed
          Kansas City MO                 64106
                                                                         Type of NONPRIORITY unsecured claim:
          City                 State     ZIP Code
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                     page 4 of 20
                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name           Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
                                                                                                         11:44:40         Desc Main
                                                                                                             number(if known)

                                                                        Document     Page 23 of 78
  4.11 Citi                                                             Last 4 digits of account number 0621
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 12-03-2020

          P.O. Box 6241                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Sioux Falls SD              57117                                Unliquidated
          City                State   ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.12 Discover Bank                                                    Last 4 digits of account number 5521
                                                                                                                                           $ 1,478.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 11-30-2023

          PO Box 15316                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Wilmington DE                19850                               Unliquidated
          City                State    ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.13 Discover Bank                                                    Last 4 digits of account number 3171
                                                                                                                                          $ 29,011.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 02-22-2007

          PO Box 15316                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Wilmington DE                19850                               Unliquidated
          City                State    ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                       page 5 of 20
                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name           Middle Name    Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
                                                                                                          11:44:40         Desc Main
                                                                                                              number(if known)

                                                                         Document     Page 24 of 78
  4.14 Dm/First State Bank Of                                            Last 4 digits of account number 7739
                                                                                                                                                  $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 01-04-2021

          206 N 5th St                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Saint Charles MO                63301                             Unliquidated
          City                   State    ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.15 Empirical Prime, LLC                                              Last 4 digits of account number
                                                                                                                                                  $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          3320 S. Outer Belt Rd.                                         As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Grain Valley MO                64029                              Unliquidated
          City                State      ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.16 Enterprise Bank & Trust                                           Last 4 digits of account number
                                                                                                                                           $ 8,276,172.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          4963 Ward Parkway                                              As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Kansas City MO                 64112                              Unliquidated
          City                State      ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                          page 6 of 20
                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name            Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
                                                                                                          11:44:40         Desc Main
                                                                                                              number(if known)

                                                                         Document     Page 25 of 78
  4.17 EP Builders                                                       Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1000 West Street                                               As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Suite 1200                                                        Unliquidated
                                                                            Disputed
          Wilmington DE                 19801
                                                                         Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.18 EP Capital                                                        Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          3320 S. Outer Belt Rd.                                         As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Grain Valley MO                64029                              Unliquidated
          City                 State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.19 EP Captives, LLC                                                  Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          3320 S. Outer Belt Rd.                                         As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Grain Valley MO                64029                              Unliquidated
          City                 State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes




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                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name           Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
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  4.20 EP Dealerships III LLC                                           Last 4 digits of account number
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.21 EP Dealerships I LLC                                             Last 4 digits of account number
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.22 EP Dealerships LLC                                               Last 4 digits of account number
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                     page 8 of 20
                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name           Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
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  4.23 EP Developers                                                    Last 4 digits of account number
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.24 EP Manufacturing, LLC                                            Last 4 digits of account number
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.25 EP Properties III, LLC                                           Last 4 digits of account number
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




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                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name           Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
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  4.26 EP Properties II, LLC                                            Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.27 EP Properties I, LLC                                             Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.28 EP Protective Service III, LLC                                   Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




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                  Bradley James Carlson
 Debtor          Case     24-40261-can7
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  4.29 EP Protective Service II, LLC                                     Last 4 digits of account number
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1000 Walnut Street                                             As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Suite 1400                                                        Unliquidated
                                                                            Disputed
          Kansas City MO                 64106
                                                                         Type of NONPRIORITY unsecured claim:
          City                 State     ZIP Code
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.30 EP Protective Service I, LLC                                      Last 4 digits of account number
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1000 Walnut Street                                             As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Suite 1400                                                        Unliquidated
                                                                            Disputed
          Kansas City MO                 64106
                                                                         Type of NONPRIORITY unsecured claim:
          City                 State     ZIP Code
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.31 First State Bank of St. Charles                                   Last 4 digits of account number 0121
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 01-04-2021

          206 N 5th Street                                               As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          St Charles MO                63301                                Unliquidated
          City                State    ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes




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                  Bradley James Carlson
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                 First Name           Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
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  4.32 Fleet Protection Services, LLC                                   Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.33 Force Construction, LLC                                          Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.34 Ford Motor Credit                                                Last 4 digits of account number 7674
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 05-02-2018

          P.O. Box 105704                                               As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Atlanta GA             30348                                     Unliquidated
          City        State      ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes




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                  Bradley James Carlson
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  4.35 Home National Bank                                                Last 4 digits of account number 5770
                                                                                                                                               $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 05-13-2018

          7450 Huntington Pk Dr                                          As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Columbus OH                  43235                                Unliquidated
          City            State        ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.36 Iroquois                                                          Last 4 digits of account number 4442
                                                                                                                                               $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 09-08-2017

          201 E Cherry                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Watseka IL                  60970                                 Unliquidated
          City          State         ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.37 JP Morgan Chase Bank, N.A.                                        Last 4 digits of account number 7382
                                                                                                                                           $ 65,393.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 08-27-2009

          P.O. Box 15369                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Wilmington DE                 19850                               Unliquidated
          City                State     ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




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  4.38 JP Morgan Chase Bank, N.A.                                        Last 4 digits of account number 8417
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 12-30-2023

          P.O. Box 15369                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Wilmington DE                 19850                               Unliquidated
          City                State     ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.39 Lumus Graphics, LLC                                               Last 4 digits of account number
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1000 Walnut Street                                             As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Suite 1400                                                        Unliquidated
                                                                            Disputed
          Kansas City MO                 64106
                                                                         Type of NONPRIORITY unsecured claim:
          City                 State     ZIP Code
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.40 Luxus Builders, LLC                                               Last 4 digits of account number
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          1000 Walnut Street                                             As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Suite 1400                                                        Unliquidated
                                                                            Disputed
          Kansas City MO                 64106
                                                                         Type of NONPRIORITY unsecured claim:
          City                 State     ZIP Code
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




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  4.41 MAG Trucks, LLC                                                  Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.42 Mulungas III, LLC                                                Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.43 Mulungas II, LLC                                                 Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




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 Debtor          Case     24-40261-can7
                 First Name           Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
                                                                                                         11:44:40         Desc Main
                                                                                                             number(if known)

                                                                        Document     Page 34 of 78
  4.44 Mulungas I, LLC                                                  Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.45 Prime Staffing, LLC                                              Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.46 RPM Driveaway, LLC                                               Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          601 NW Jefferson Street                                       As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Blue Springs MO                64014                             Unliquidated
          City                State      ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                     page 16 of 20
                  Bradley James Carlson
 Debtor          Case     24-40261-can7
                 First Name           Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
                                                                                                         11:44:40         Desc Main
                                                                                                             number(if known)

                                                                        Document     Page 35 of 78
  4.47 Sapphire Capital, LLC                                            Last 4 digits of account number
                                                                                                                                                                           $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1000 Walnut Street                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Suite 1400                                                       Unliquidated
                                                                           Disputed
          Kansas City MO                64106
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.48 Toronto-Dominion Bank Auto Finance                               Last 4 digits of account number 8079
                                                                                                                                                                   $ 72,285.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 12/06/2022

          P.O. Box 9223                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Farmington MI                48333                               Unliquidated
          City                State    ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.49 Truist                                                           Last 4 digits of account number 1051
                                                                                                                                                                           $ 0.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 10-07-2020

          P.O. Box 486                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Whiteville NC               28472                                Unliquidated
          City            State       ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        Bk Of Amer                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.6    of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        P.O. Box 2240
        Number                                                                                                          Part 2: Creditors with Nonpriority Unsecured
                     Street
        Brea CA               92822                                                Claims
        City      State       ZIP Code                                             Last 4 digits of account number 2865

Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 17 of 20
                Bradley James Carlson
 Debtor        Case     24-40261-can7
               First Name           Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
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                                                                                                           number(if known)

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        Bk Of Amer                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.6     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        P.O. Box 2240
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                   Street
        Brea CA              92822                                              Claims
        City     State       ZIP Code                                           Last 4 digits of account number 4563


        Brent King; B Riley Advisory Services                                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.41 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2405 Grand Boulevard
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 1210                                                              Claims
                                                                                Last 4 digits of account number
        Kansas City MO              64108
        City                State   ZIP Code

        Brent King; B Riley Advisory Services                                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.24 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2405 Grand Boulevard
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 1210                                                              Claims
                                                                                Last 4 digits of account number
        Kansas City MO              64108
        City                State   ZIP Code

        Brent King; B Riley Advisory Services                                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.44 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2405 Grand Boulevard
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 1210                                                              Claims
                                                                                Last 4 digits of account number
        Kansas City MO              64108
        City                State   ZIP Code

        Brent King; B Riley Advisory Services                                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2405 Grand Boulevard
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 1210                                                              Claims
                                                                                Last 4 digits of account number
        Kansas City MO              64108
        City                State   ZIP Code

        Brent King; B Riley Advisory Services                                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.5     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        2405 Grand Boulevard
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 1210                                                              Claims
                                                                                Last 4 digits of account number
        Kansas City MO              64108
        City                State   ZIP Code

        Brent King; B Riley Advisory Services                                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.43 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2405 Grand Boulevard
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 1210                                                              Claims
                                                                                Last 4 digits of account number
        Kansas City MO              64108
        City                State   ZIP Code




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 18 of 20
                Bradley James Carlson
 Debtor        Case     24-40261-can7
               First Name            Middle Name    Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
                                                                                                         11:44:40         Desc Main
                                                                                                             number(if known)

                                                                        Document     Page 37 of 78
                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Bryan Cave Leighton Paisner, LLP
        Creditor’s Name                                                           Line 4.16 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Attn: Jenifer L. Berhorst                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Number
                   Street                                                         Claims
        1200 Main Street, Suite 3800
                                                                                  Last 4 digits of account number
        Kansas City MO               64105
        City                State    ZIP Code

        Christopher J. Redmond, Redmond Law Firm, LLC                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.41 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        6731 W. 121st Street
        Number                                                                                                          Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 226                                                                 Claims
                                                                                  Last 4 digits of account number
        Shawnee Mission KS                  66209
        City                        State   ZIP Code

        Christopher J. Redmond, Redmond Law Firm, LLC                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.24 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        6731 W. 121st Street
        Number                                                                                                          Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 226                                                                 Claims
                                                                                  Last 4 digits of account number
        Shawnee Mission KS                  66209
        City                        State   ZIP Code

        Christopher J. Redmond, Redmond Law Firm, LLC                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.44 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        6731 W. 121st Street
        Number                                                                                                          Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 226                                                                 Claims
                                                                                  Last 4 digits of account number
        Shawnee Mission KS                  66209
        City                        State   ZIP Code

        Christopher J. Redmond, Redmond Law Firm, LLC                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        6731 W. 121st Street
        Number                                                                                                          Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 226                                                                 Claims
                                                                                  Last 4 digits of account number
        Shawnee Mission KS                  66209
        City                        State   ZIP Code

        Christopher J. Redmond, Redmond Law Firm, LLC                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.5     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        6731 W. 121st Street
        Number                                                                                                          Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 226                                                                 Claims
                                                                                  Last 4 digits of account number
        Shawnee Mission KS                  66209
        City                        State   ZIP Code

        Christopher J. Redmond, Redmond Law Firm, LLC                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.43 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        6731 W. 121st Street
        Number                                                                                                          Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 226                                                                 Claims
                                                                                  Last 4 digits of account number
        Shawnee Mission KS                  66209
        City                        State   ZIP Code

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.



Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 19 of 20
               Bradley James Carlson
 Debtor       Case     24-40261-can7
               First Name     Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
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                                                                                                           Total claim

   Total claims        6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                             6b.   $ 0.00
                       government
                       6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                        $ 0.00



                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 8,457,151.00
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 8,457,151.00




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims            page 20 of 20
             Case 24-40261-can7                   Doc 1    Filed 02/29/24 Entered 02/29/24 11:44:40                      Desc Main
                                                          Document     Page 39 of 78
  Fill in this information to identify your case:

  Debtor 1
                     Bradley James Carlson
                      First Name                           Last Name
                                    Middle Name

  Debtor 2
  (Spouse, if filing) First Name         Middle Name
                                                                Last Name



  United States Bankruptcy Court for the: Western District of Missouri

  Case number                                                                                                                   Check if this is
  (if know)                                                                                                                     an amended
                                                                                                                                filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                              page 1 of 1
               Case 24-40261-can7                   Doc 1     Filed 02/29/24 Entered 02/29/24 11:44:40                             Desc Main
                                                             Document     Page 40 of 78
Fill in this information to identify your case:

Debtor 1
                 Bradley James Carlson
                  First Name                          Last Name
                                 Middle Name

Debtor 2
(Spouse, if filing) First Name        Middle Name
                                                            Last Name



United States Bankruptcy Court for the: Western District of Missouri

Case number                                                                                                                                 Check if this is
(if know)                                                                                                                                   an amended
                                                                                                                                            filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
3.1     Empirical Prime LLC fka Force Midwest, LLC                                                 Schedule D, line
        Name                                                                                       Schedule E/F, line 4.16
        4963 Ward Parkway                                                                          Schedule G, line
        Street
        Kansas City                                               MO       64112
        City                                                      State    ZIP Code
3.2     Mulugas I                                                                                  Schedule D, line
        Name                                                                                       Schedule E/F, line 4.16
        4963 Ward Parkway                                                                          Schedule G, line
        Street
        Kansas City                                               MO       64112
        City                                                      State    ZIP Code

3.3     MulungasII                                                                                 Schedule D, line
        Name                                                                                       Schedule E/F, line 4.16
        4963 Ward Parkway                                                                          Schedule G, line
        Street
        Kansas City                                               MO       64112
        City                                                      State    ZIP Code

3.4     APEX                                                                                       Schedule D, line
        Name                                                                                       Schedule E/F, line 4.16
        4963 Ward Parkway                                                                          Schedule G, line
        Street
        Kansas City                                               MO       64112
        City                                                      State    ZIP Code


Official Form 106H                                                        Schedule H: Your Codebtors                                               page 1 of 2
                 Bradley James Carlson
Debtor          Case     24-40261-can7
                First Name   Middle Name   Last Name   Doc 1    Filed 02/29/24 Entered 02/29/24Case
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                                                                                                    number(if known)

                                                               Document     Page 41 of 78
3.5      MAG                                                                                    Schedule D, line
         Name                                                                                   Schedule E/F, line 4.16
         4963 Ward Parkway                                                                      Schedule G, line
         Street
         Kansas City                                           MO       64112
         City                                                  State    ZIP Code
3.6      EP Manufactural                                                                        Schedule D, line
         Name                                                                                   Schedule E/F, line 4.16
         4963 Ward Parkway                                                                      Schedule G, line
         Street
         Kansas City                                           MO       64112
         City                                                  State    ZIP Code




Official Form 106H                                                     Schedule H: Your Codebtors                            page 2 of 2
               Case 24-40261-can7                Doc 1       Filed 02/29/24 Entered 02/29/24 11:44:40                             Desc Main
                                                            Document     Page 42 of 78
 Fill in this information to identify your case:

                      Bradley James Carlson
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Western District of MissouriDistrict
                                                                                    tate)
 Case number         ___________________________________________                                        Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                           ✔ Employed
    information about additional          Employment status                                                            Employed
    employers.                                                             Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Owner
                                          Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                          Sapphire Automotive Group
                                         Employer’s name
                                                                          LLC
                                                                        __________________________________            __________________________________


                                         Employer’s address                4741 Central St PMB 515
                                                                        _______________________________________     ________________________________________
                                                                         Number Street                               Number    Street

                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                           Kansas City, MO 64112
                                                                        _______________________________________     ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                            ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.       8,333.35
                                                                                                  $___________          $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________
                                                                                                           0.00      + $____________

 4. Calculate gross income. Add line 2 + line 3.                                            4.       8,333.35
                                                                                                  $__________           $____________




Official Form 106I                                                  Schedule I: Your Income                                                    page 1
            Case 24-40261-can7 Doc 1
              Bradley James Carlson
                                                                         Filed 02/29/24 Entered 02/29/24 11:44:40 Desc Main
Debtor 1         _______________________________________________________Document     Page 43 of Case
                                                                                                 78 number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.      8,333.35
                                                                                                                        $___________          $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.       1,890.16
                                                                                                                        $____________         $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________         $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________         $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________         $_____________
     5e. Insurance                                                                                               5e.         659.19
                                                                                                                        $____________         $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________         $_____________
                                                                                                                               0.00
                                                                                                                        $____________         $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h. + $____________
                                                                                                                              0.00          + $_____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.       2,549.34
                                                                                                                        $____________         $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       5,784.00
                                                                                                                        $____________         $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________         $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________         $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________         $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________         $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________         $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00          + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           0.00
                                                                                                                        $____________         $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           5,784.00
                                                                                                                        $___________    +     $_____________      = $_____________
                                                                                                                                                                       5,784.00

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                       5,784.00
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
       No.           No longer taking a salary
      
      ✔ Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
               Case 24-40261-can7                 Doc 1       Filed 02/29/24 Entered 02/29/24 11:44:40                                        Desc Main
                                                             Document     Page 44 of 78
  Fill in this information to identify your case:

                     Bradley James Carlson
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Western District of Missouri
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                    expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                 ✔ No
                                                                                         Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                 Yes. Fill out this information for           Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’
                                                                                                                                                   No
                                                                                          _________________________                ________
   names.                                                                                                                                          Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                   200.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                       0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                      0.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
              Case 24-40261-can7                   Doc 1          Filed 02/29/24 Entered 02/29/24 11:44:40                     Desc Main
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                    Bradley James Carlson
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                         0.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                         0.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      129.93
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                      400.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      400.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      460.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      229.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      250.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                         0.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.   $_____________________
                                                                                                                                         0.00
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                         0.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                         0.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.   $_____________________
                                                                                                                                         0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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                   Bradley James Carlson
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
utilities at apartment
______________________________________________________________________________________                                                  650.00
                                                                                                                         +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 2,718.93
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 2,718.93
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       5,784.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 2,718.93
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  3,065.07
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
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                                                             Document     Page 47 of 78
Fill in this information to identify your case:

Debtor 1           Bradley James Carlson
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:Western District of Missouri District of __________
                                                                               (State)
Case number         ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Bradley James Carlson
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              02/29/2024
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                    Declaration About an Individual Debtor’s Schedules
               Case 24-40261-can7                         Doc 1      Filed 02/29/24 Entered 02/29/24 11:44:40                                            Desc Main
                                                                    Document     Page 48 of 78

 Fill in this information to identify your case:

                    Bradley James Carlson
 Debtor 1
                    First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing)   First Name           Middle Name        Last Name



 United States Bankruptcy Court for the: Western District of Missouri

 Case number
 (if know)                                                                                                                                                       Check if this is
                                                                                                                                                                 an amended
                                                                                                                                                                 filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                                   Dates Debtor 1               Debtor 2:                                                Dates Debtor 2
                                                                    lived there                                                                           lived there

                                                                                                      Same as Debtor 1                                        Same as Debtor 1
                                                                           From 01/2021                                                                       From
        4963 Ward Parkway
                                                                           To 01/2024                                                                         To
        Number                                                                                        Number
                       Street                                                                                    Street
        Kansas City MO              64112
        City               State    ZIP Code                                                          City     State   ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:        Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                         Debtor 1                                                 Debtor 2

                                                                         Sources of income         Gross income                   Sources of income         Gross income
                                                                         Check all that apply      (before deductions and         Check all that apply      (before deductions and
                                                                                                   exclusions)                                              exclusions)

         From January 1 of current year until the date                      Wages, commissions,                                      Wages, commissions,
         you filed for bankruptcy:                                          bonuses, tips      $                                     bonuses, tips      $
                                                                            Operating a business                                     Operating a business




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1 of 17
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Debtor          Bradley James Carlson
               First Name     Middle Name   Last Name
                                                                 Document     Page 49 of 78      Case number(if known)



          For last calendar year:                                      Wages, commissions,                                      Wages, commissions,
                                                                       bonuses, tips      $                                     bonuses, tips      $
          (January 1 to December 31, 2023
                                                                       Operating a business                                     Operating a business


          For the calendar year before that:                           Wages, commissions,                                      Wages, commissions,
                                                                       bonuses, tips      $ 237,704.00                          bonuses, tips      $
          (January 1 to December 31, 2022
                                                                       Operating a business                                     Operating a business


5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.



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Debtor          Bradley James Carlson
               First Name     Middle Name    Last Name
                                                                   Document     Page 50 of 78      Case number(if known)



                                                             Nature of the case                      Court or agency                             Status of the
                                                                                                                                                 case

    Case title:                                              ; Date filed: 10/24/2023                                                                Pending
    Enterprise Bank & Trust v.                                                                       Circuit Court Of Jackson County, Missouri       On appeal
    Mulungas II, LLC, et. al                                                                         Court Name
    Case number: 2316-CV28464                                                                                                                        Concluded
                                                                                                     308 W Kansas Ave
                                                                                                     Number
                                                                                                                Street
                                                                                                     Independence MO               64050
                                                                                                     City                State     ZIP Code
    Case title:                                              ; Date filed: 10/25/2023                                                                Pending
    Enterprise Bank & Trust v.                                                                       Circuit Court Of Jackson County, Missouri       On appeal
    Bradley J Carlson & Empirical                                                                    Court Name
    Prime, LLC f/k/a Force Midwest,                                                                                                                  Concluded
    LLC                                                                                              308 W Kansas Ave
                                                                                                     Number
    Case number: 2316-CV28588                                                                                   Street
                                                                                                     Independence MO               64050
                                                                                                     City                State     ZIP Code
    Case title:                                              Garnishment: ; Date filed:                                                              Pending
    Case number: 2316-CV28588                                10/25/2023                              Circuit Court Of Jackson County, Missouri       On appeal
                                                                                                     Court Name
                                                                                                                                                     Concluded
                                                                                                     415 E. 12th Street
                                                                                                     Number
                                                                                                                Street
                                                                                                     Kansas City MO              64106
                                                                                                     City            State       ZIP Code

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 3 of 17
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Debtor            Bradley James Carlson
                 First Name           Middle Name   Last Name
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16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                       Description and value of any property transferred                Date payment or Amount of
                                                                                                                                        transfer was    payment
                                                                                                                                        made
                                                                      Credit Report $36.00; Credit Counseling $24.00; Filing Fee          01/2024        $ 55,000.00
          The Sader Law Firm                                          $338.00; Financial Management $24.00 Total $422.00                                 $
          Person Who Was Paid
          2345 Grand Boulevard
          Number
                         Street
          Suite 2150

          Kansas City MO                 64108
          City                State      ZIP Code
          www.saderlawfirm.com
          Email or website address


          Person Who Made the Payment, if Not You


17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
                                                                    Description and value of                Describe any property or payments received   Date transfer
                                                                    property transferred                    or debts paid in exchange                    was made

                                                                     First State Bank Ward Pkwy                                                           05/16/2022
          Empirical Prime LLC                                        2nd Loan, $909.24
          Person Who Received Transfer
          3320 S. Outer Belt Rd.
          Number         Street
          Grain Valley MO                64029
          City                State      ZIP Code

          Person’s relationship to you



                                                                     Water Bill - Money, $154.00                                                          01/01/2022
          Empirical Prime LLC
          Person Who Received Transfer
          3320 S. Outer Belt Rd.
          Number         Street
          Grain Valley MO                64029
          City                State      ZIP Code

          Person’s relationship to you




Official Form 107                                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 4 of 17
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Debtor           Bradley James Carlson
                First Name       Middle Name    Last Name
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                                                                 City of Kansas City - Util                                         02/16/2022
         Empirical Prime LLC                                     Payment, $137.61
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         05/14/2022
         Empirical Prime LLC                                     Lines, $10.04
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 First State Bank - Ward Pkwy                                       06/14/2022
         Empirical Prime LLC                                     2nd Loan, $986.30
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 50% down for Carpet for Dea,                                       06/06/2022
         Empirical Prime LLC                                     $2,475.00
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Money, $26,147.11                                                  01/05/2022
         Empirical Prime LLC
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         01/17/2022
         Empirical Prime LLC                                     Lines, $10.04
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you




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Debtor           Bradley James Carlson
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                                                                 Service Warranty for Water                                         03/14/2022
         Empirical Prime LLC                                     Lines, $10.04
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Owner's Personal Articles                                          05/01/2022
         Empirical Prime LLC                                     Policy, $89.08
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Payment to Brads American                                          12/30/2022
         Empirical Prime LLC                                     Express, $22,566.31
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Force Midwest - Ethanol Trt for                                    12/21/2020
         APEX Specialty Vehicles, LLC                            Brads Boat, $74.90
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Payment to Brads Person CC -                                       11/14/2022
         APEX Specialty Vehicles, LLC                            Chase Ink, $27,000.00
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 State Farm - Brads Personal                                        02/06/2023
         APEX Specialty Vehicles, LLC                            Articles Insurance, $89.08
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you




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                                                                 United States Treasury - 2020                                      02/02/2022
         Empirical Prime LLC                                     Tax Year, $25,000.00
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 First State Bank - Ward Pkwy                                       03/16/2022
         Empirical Prime LLC                                     2nd Loan - Interest, $844.17
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Progressive Insurance                                              07/06/2022
         Empirical Prime LLC                                     Premium, $148.59
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 First State Bank Ward Pkwy                                         11/08/2022
         Empirical Prime LLC                                     2nd Loan - Interest, $1,592.46
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Home Inspection - Brads                                            12/01/2020
         APEX Specialty Vehicles, LLC                            Personal Home, $1,009.40
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 State Farm - Brads Personal                                        04/25/2023
         APEX Specialty Vehicles, LLC                            Articles Insurance, $95.33
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you




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                                                                 Service Warranty for Water                                         02/14/2022
         Empirical Prime LLC                                     Lines, $10.04
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 First State Bank - Ward Pkwy                                       02/16/2022
         Empirical Prime LLC                                     2nd Loan - Interest, $960.61
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         04/14/2022
         Empirical Prime LLC                                     Lines, $10.04
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         06/14/2022
         Empirical Prime LLC                                     Lines, $10.04
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Progressive Insurance                                              08/08/2022
         Empirical Prime LLC                                     Premiums, $136.87
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 United States Treasury 2020                                        03/28/2022
         Empirical Prime LLC                                     Taxes, $25,000.00
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you




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                                                                 Eagle County Court Fees -                                          05/13/2022
         Empirical Prime LLC                                     Brad CC Charge, $143.50
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 United States Treasury,                                            05/16/2022
         Empirical Prime LLC                                     $25,000.00
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         07/14/2022
         Empirical Prime LLC                                     Lines, $10.04
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Marios Lawn Service - Lawn                                         08/05/2022
         Empirical Prime LLC                                     Services Ward Pkwy, $450.00
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         10/14/2022
         Empirical Prime LLC                                     Lines, $11.16
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 First State Bank Ward Pkwy                                         10/17/2022
         Empirical Prime LLC                                     2nd Loan Interest, $1,335.61
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you




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                                                                 United States Treasury - 2021                                      12/06/2022
         Empirical Prime LLC                                     Taxes, $10,000.00
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 First State Bank - Ward Pkwy                                       07/18/2022
         Empirical Prime LLC                                     2nd Loan Interest, $965.74
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Progressive Insurance                                              09/07/2022
         Empirical Prime LLC                                     Premium, $136.92
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Payment to Brads American                                          11/04/2022
         Empirical Prime LLC                                     Express, $14,367.13
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Dick's Sporting Goods, $243.33                                     07/01/2021
         Luxus Builders
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         02/14/2023
         APEX Specialty Vehicles, LLC                            Line, $12.59
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you




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                                                                 Mario's Lawn Service, $340.00                                      08/08/2023
         APEX Specialty Vehicles, LLC
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         08/14/2022
         Empirical Prime LLC                                     Lines, $10.04
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         08/16/2022
         Empirical Prime LLC                                     Lines, $1,174.65
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Payment to Brads American                                          12/02/2022
         Empirical Prime LLC                                     Express, $9,586.65
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Mario's Lawn Service,                                              06/06/2023
         APEX Specialty Vehicles, LLC                            $5,476.16
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Mario's Lawn Service,                                              07/13/2023
         APEX Specialty Vehicles, LLC                            $1,450.00
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you




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                                                                 AIG Insurance for Ward,                                            12/05/2022
         APEX Specialty Vehicles, LLC                            $531.00
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Mario's Lawn Service, $340.00                                      06/06/2023
         APEX Specialty Vehicles, LLC
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Progressive Insurance                                              11/08/2022
         Empirical Prime LLC                                     Premium, $136.92
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty for Water                                         11/17/2022
         Empirical Prime LLC                                     Lines, $1,592.46
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Progressive Insurance                                              12/04/2022
         Empirical Prime LLC                                     Premium, $136.92
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 First State Bank - Ward Pkwy                                       12/16/2022
         Empirical Prime LLC                                     2nd Loan - Interest, $1,390.40
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you




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                                                                 Service Warranty for Water                                         12/14/2022
         Empirical Prime LLC                                     Lines, $11.16
         Person Who Received Transfer
         3320 S. Outer Belt Rd.
         Number         Street
         Grain Valley MO             64029
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Payment to Brads Southwest                                         01/12/2023
         APEX Specialty Vehicles, LLC                            Chase CC, $79,896.93
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Chase Ink - Payment on Brads                                       05/01/2023
         APEX Specialty Vehicles, LLC                            Southwest Account, $5,000.00
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 CO Ambulance charge for                                            10/04/2022
         RPM Driveaway                                           Brad, $1,462.28
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Mario's Lawn Service, $340.00                                      06/06/2023
         APEX Specialty Vehicles, LLC
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Payment to Brads Personal CC                                       11/21/2022
         APEX Specialty Vehicles, LLC                            - Chase Inl, $7,000.00
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you




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                                                                 State Farm - Brads Personal                                        08/01/2023
         APEX Specialty Vehicles, LLC                            Articles Insurance, $95.33
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Chase Ink Payment on Brads                                         06/02/2023
         APEX Specialty Vehicles, LLC                            Southwest CC, $6,539.72
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 State Farm - Brads Personal                                        07/11/2023
         APEX Specialty Vehicles, LLC                            Articles Insurance, $95.33
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Mario's Lawn Servie, $340.00                                       07/13/2023
         APEX Specialty Vehicles, LLC
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Service Warranty - Water Line,                                     07/14/2023
         APEX Specialty Vehicles, LLC                            $12.55
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
         City                State   ZIP Code

         Person’s relationship to you



                                                                 Additional Escrow Paid for sale                                    07/28/2023
         APEX Specialty Vehicles, LLC                            of Duplex, $6,251.15
         Person Who Received Transfer
         601 NW Jefferson Street
         Number         Street
         Blue Springs MO             64014
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         Person’s relationship to you




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                                                                          Mario's Lawn Service, $340.00                                        08/08/2023
           APEX Specialty Vehicles, LLC
           Person Who Received Transfer
           601 NW Jefferson Street
           Number         Street
           Blue Springs MO                 64014
           City                    State   ZIP Code

           Person’s relationship to you



                                                                          First State Bank - Ward Pkwy                                         04/18/2022
           Empirical Prime LLC                                            2nd Loan - Interest, $815.06
           Person Who Received Transfer
           3320 S. Outer Belt Rd.
           Number         Street
           Grain Valley MO                 64029
           City                    State   ZIP Code

           Person’s relationship to you



19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:           List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.
                                                                   Who else had access to it?                         Describe the contents   Do you still have
                                                                                                                                              it?

       Bank of America                                             Bradley Carlson                                    , $0.00
                                                                                                                                                  No
       Name of Financial Institution                               Name
                                                                                                                                                  Yes
       Bank of America
       Number                                                      Number
                        Street                                                   Street
       .            .          .                                   .         .        .
       City         State      ZIP Code                            City      State    ZIP Code

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:           Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.
                                                                   Where is the property?                             Describe the property   Value




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       Emily Till                                                                                                    2024 GMC 1500 Truck
       Owner’s Name                                                                                                                                               $ Unknown


       Number                                                     Number
                        Street                                                  Street
       .            .          .                                  .        .         .
       City         State      ZIP Code                           City     State     ZIP Code


 Part 10:           Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:           Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                               Describe the nature of the business                       Employer Identification number
           Empirical Prime LLC                                                                                                           Do not include Social Security number or
           Business Name
                                                                           Holding Company                                               ITIN.
           4963 Ward Parkway
                                                                                                                                         EIN:       –
           Number                                                              Name of accountant or bookkeeper
                         Street                                                                                                          Dates business existed
           Kansas City MO                64112                             CBIZ
           City                State     ZIP Code                                                                                        From 12/17/2015 To Current


28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




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 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Bradley James Carlson
         Signature of Debtor 1                                                  Signature of Debtor 2

         Date 02/29/2024                                                        Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                              Declaration, and Signature (Official Form 119).




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 17 of 17
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  Fill in this information to identify your case:

                     Bradley James Carlson
   Debtor 1
                     First Name          Middle Name           Last Name

   Debtor 2
   (Spouse, if filing)   First Name        Middle Name           Last Name



   United States Bankruptcy Court for the: Western District of Missouri

   Case number
   (if known)
                                                                                                                                          Check if this is
                                                                                                                                          an amended
                                                                                                                                          filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                       12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                        Surrender the property.                   No
   name:                 Pinnacle Bank
                                                                                     Retain the property and redeem it.        Yes
   Description of 4963 Ward Parkway                                                  Retain the property and enter into a
   property
   securing debt:                                                                    Reaffirmation Agreement.
                                                                                     Retain the property and [explain]:




 Part 2:       List Your Unexpired Personal Property Leases


   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
   in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
   You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
      Describe your unexpired personal property leases Will the lease be assumed?




 Official Form 108                                             Statement of Intention for Individuals Filing Under Chapter 7                       page 1 of 2
            Case 24-40261-can7            Doc 1      Filed 02/29/24 Entered 02/29/24 11:44:40 Desc Main
Debtor        Bradley James Carlson                 Document     Page 66 of 78      Case number(if known)



Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ Bradley James Carlson
       Signature of Debtor 1                                                   Signature of Debtor 2


     Date 02/29/2024                                                         Date 02/29/2024
             MM/DD/YYYY                                                             MM/DD/YYYY




Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                          page 2 of 2
              Case 24-40261-can7                   Doc 1       Filed 02/29/24 Entered 02/29/24 11:44:40                                 Desc Main
 Fill in this information to identify your case:
                                                              Document     Page 67 of 78
                                                                                                        Check one box only as directed in this form and in
                                                                                                        Form 122A-1Supp:
 Debtor 1         Bradley  James Carlson
                  __________________________________________________________________
                     First Name               Middle Name                 Last Name
                                                                                                        
                                                                                                        ✔ 1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                 Last Name                      2. The calculation to determine if a presumption of
                                                                                                              abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________
                                         Western District  ofofMissouri
                                                      District  _______________
                                                                                                              Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                          3. The Means Test does not apply now because of
 (If known)
                                                                                                              qualified military service but it could apply later.


                                                                                                         Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                               12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        
        ✔ Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
           Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                          Column A             Column B
                                                                                                          Debtor 1             Debtor 2 or
                                                                                                                               non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                     $_________           $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                               $_________           $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                             $_________           $__________

   5. Net income from operating a business, profession,
                                                                          Debtor 1    Debtor 2
      or farm
      Gross receipts (before all deductions)                                $______   $______
        Ordinary and necessary operating expenses                        – $______ – $______
                                                                                                 Copy
        Net monthly income from a business, profession, or farm             $______   $______ here        $_________           $__________

   6. Net income from rental and other real property                      Debtor 1    Debtor 2
      Gross receipts (before all deductions)                                $______   $______
        Ordinary and necessary operating expenses                        – $______ – $______
                                                                                                 Copy
        Net monthly income from rental or other real property               $______   $______ here        $_________           $__________
  7. Interest, dividends, and royalties                                                                    $_________           $__________



Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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Debtor 1           Bradley  James Carlson
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                      $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
            For you ..................................................................................   $______________
            For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                   $__________                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                    $_________                   $___________
           ______________________________________                                                                                    $_________                   $___________
           Total amounts from separate pages, if any.                                                                            + $_________                  + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                            $_________
                                                                                                                                                           +      $___________
                                                                                                                                                                                      = $__________
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here        $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.    $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ................................................................................................. 13.    $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.



       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                  page 2
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Debtor 1     Bradley  James Carlson
             _______________________________________________________                              Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Bradley James Carlson
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       02/29/2024
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
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    Fill in this information to identify your case:              Document     Page 70 of 78

    Debtor 1           Bradley James Carlson
                      __________________________________________________________________
                        First Name              Middle Name              Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name              Last Name


    United States Bankruptcy Court for the: Western
                                            ______________________
                                                    District of Missouri District of __________

    Case number         ___________________________________________
    (If known)

                                                                                                            Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
       No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                  this supplement with the signed Form 122A-1.
      Yes. Go to Part 2.
Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
 No. Go to line 3.
 Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                   No. Go to line 3.
                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Check any one of the following categories that applies:
                  I was called to active duty after September 11, 2001, for at least             If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                           Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                  box 3, The Means Test does not apply now, and sign
                  I was called to active duty after September 11, 2001, for at least             Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                  Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                  Official Form 22A-1 during the exclusion period. The
                  I am performing a homeland defense activity for at least 90 days.              exclusion period means the time you are on active duty
                                                                                                  or are performing a homeland defense activity, and for
                  I performed a homeland defense activity for at least 90 days,                  540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                  If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                  you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                   page 1
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1st State                                                Carlson Estate, LLC
206 North 5th Street                                     1000 Walnut Street
Saint Charles, MO 63301                                  Suite 1400
                                                         Kansas City, MO 64106

American Express
P.O. Box 297871                                          Christopher J. Redmond, Redmond Law Firm, LLC
Fort Lauderdale, FL 33329                                6731 W. 121st Street
                                                         Suite 226
                                                         Shawnee Mission, KS 66209
APEX
4963 Ward Parkway
Kansas City, MO 64112                                    Citi
                                                         P.O. Box 6241
                                                         Sioux Falls, SD 57117
APEX Specialty Vehicles, LLC
601 NW Jefferson Street
Blue Springs, MO 64014                                   Discover Bank
                                                         PO Box 15316
                                                         Wilmington, DE 19850
Attorney General, Main Justice Building
950 Pennsylvania Avenue NW
Washington, DC 20530-0001                                Dm/First State Bank Of
                                                         206 N 5th St
                                                         Saint Charles, MO 63301
Bank of America
1825 E Buckeye Rd
Phoenix, AZ 85034                                        Empirical Prime LLC fka Force Midwest, LLC
                                                         4963 Ward Parkway
                                                         Kansas City, MO 64112
Bank of America
P.O. Box 2240
Brea, CA 92822                                           Empirical Prime, LLC
                                                         3320 S. Outer Belt Rd.
                                                         Grain Valley, MO 64029
Bk Of Amer
P.O. Box 2240
Brea, CA 92822                                           Enterprise Bank & Trust
                                                         4963 Ward Parkway
                                                         Kansas City, MO 64112
Brent King; B Riley Advisory Services
2405 Grand Boulevard
Suite 1210                                               EP Builders
Kansas City, MO 64108                                    1000 West Street
                                                         Suite 1200
                                                         Wilmington, DE 19801
Bryan Cave Leighton Paisner, LLP
Attn: Jenifer L. Berhorst
1200 Main Street, Suite 3800                             EP Capital
Kansas City, MO 64105                                    3320 S. Outer Belt Rd.
                                                         Grain Valley, MO 64029

Capital One
11013 W Broad St                                         EP Captives, LLC
Glen Allen, VA 23060                                     3320 S. Outer Belt Rd.
                                                         Grain Valley, MO 64029

Carlson Custom House, LLC
1000 Walnut Street                                       EP Dealerships I LLC
Suite 1400                                               1000 Walnut Street
Kansas City, MO 64106                                    Suite 1400
                                                         Kansas City, MO 64106
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EP Dealerships III LLC                                 EP Protective Service III, LLC
1000 Walnut Street                                     1000 Walnut Street
Suite 1400                                             Suite 1400
Kansas City, MO 64106                                  Kansas City, MO 64106


EP Dealerships LLC                                     First State Bank of St. Charles
1000 Walnut Street                                     206 N 5th Street
Suite 1400                                             St Charles, MO 63301
Kansas City, MO 64106

                                                       Fleet Protection Services, LLC
EP Developers                                          1000 Walnut Street
1000 Walnut Street                                     Suite 1400
Suite 1400                                             Kansas City, MO 64106
Kansas City, MO 64106

                                                       Force Construction, LLC
EP Manufactural                                        1000 Walnut Street
4963 Ward Parkway                                      Suite 1400
Kansas City, MO 64112                                  Kansas City, MO 64106


EP Manufacturing, LLC                                  Ford Motor Credit
1000 Walnut Street                                     P.O. Box 105704
Suite 1400                                             Atlanta, GA 30348
Kansas City, MO 64106

                                                       Home National Bank
EP Properties I, LLC                                   7450 Huntington Pk Dr
1000 Walnut Street                                     Columbus, OH 43235
Suite 1400
Kansas City, MO 64106
                                                       Internal Revenue Service
                                                       PO Box 7346
EP Properties II, LLC                                  Philadelphia, PA 19255
1000 Walnut Street
Suite 1400
Kansas City, MO 64106                                  Iroquois
                                                       201 E Cherry
                                                       Watseka, IL 60970
EP Properties III, LLC
1000 Walnut Street
Suite 1400                                             JP Morgan Chase Bank, N.A.
Kansas City, MO 64106                                  P.O. Box 15369
                                                       Wilmington, DE 19850

EP Protective Service I, LLC
1000 Walnut Street                                     Lumus Graphics, LLC
Suite 1400                                             1000 Walnut Street
Kansas City, MO 64106                                  Suite 1400
                                                       Kansas City, MO 64106

EP Protective Service II, LLC
1000 Walnut Street                                     Luxus Builders, LLC
Suite 1400                                             1000 Walnut Street
Kansas City, MO 64106                                  Suite 1400
                                                       Kansas City, MO 64106
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MAG                                                    Sapphire Capital, LLC
4963 Ward Parkway                                      1000 Walnut Street
Kansas City, MO 64112                                  Suite 1400
                                                       Kansas City, MO 64106

MAG Trucks, LLC
1000 Walnut Street                                     Toronto-Dominion Bank Auto Finance
Suite 1400                                             P.O. Box 9223
Kansas City, MO 64106                                  Farmington, MI 48333


Mulugas I                                              Truist
4963 Ward Parkway                                      P.O. Box 486
Kansas City, MO 64112                                  Whiteville, NC 28472


Mulungas I, LLC                                        U.S. Attorney, KS- Bankruptcy
1000 Walnut Street                                     500 State Ave., Ste. 360
Suite 1400                                             Kansas City, KS 66101
Kansas City, MO 64106

                                                       U.S. Attorney, WDMO- Bankruptcy
Mulungas II, LLC                                       400 East 9th Street, Room 5510
1000 Walnut Street                                     Kansas City, MO 64106
Suite 1400
Kansas City, MO 64106


Mulungas III, LLC
1000 Walnut Street
Suite 1400
Kansas City, MO 64106


MulungasII
4963 Ward Parkway
Kansas City, MO 64112


Office of the United States Trustee
400 E 9th Street
Room 3440
Kansas City, MO 64106


Pinnacle Bank
P.O. Box 461209
Papillion, NE 68046


Prime Staffing, LLC
1000 Walnut Street
Suite 1400
Kansas City, MO 64106


RPM Driveaway, LLC
601 NW Jefferson Street
Blue Springs, MO 64014
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                             United States Bankruptcy Court
                             Western District of Missouri




         Bradley James Carlson
In re:                                                        Case No.

                                                              Chapter    7
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              02/29/2024                         /s/ Bradley James Carlson
Date:
                                                Signature of Debtor



                                                Signature of Joint Debtor
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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

        You are an individual filing for bankruptcy,                      $245     filing fee
         and                                                                $78     administrative fee
                                                                 +          $15     trustee surcharge
        Your debts are primarily consumer debts.
                                                                           $338     total fee
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                    difficulty preventing them from paying their
         household purpose.”                                     debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
        Chapter 7 — Liquidation
                                                                 However, if the court finds that you have
        Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
        Chapter 12 — Voluntary repayment plan
                                                                 may deny your discharge.
                      for family farmers or
                      fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
        Chapter 13 — Voluntary repayment plan
                                                                 debts are not discharged under the law.
                      for individuals with regular
                                                                 Therefore, you may still be responsible to pay:
                      income
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
 decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167    filing fee
 If your income is above the median for your                     +          $571    administrative fee
 state, you must file a second form —the                                  $1,738    total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If



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Read These Important Warnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200   filing fee                                    future earnings. If the court approves your
 +           $78   administrative fee                            plan, the court will allow you to repay your
            $278   total fee
                                                                 debts, as adjusted by the plan, within 3 years or
                                                                 5 years, depending on your income and other
 Similar to chapter 13, chapter 12 permits
                                                                 factors.
 family farmers and fishermen to repay their
 debts over a period of time using future                        After you make all the payments under your
 earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
 not paid.                                                       debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
                                                                     most student loans,
             individuals with regular
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
           $235    filing fee                                        debts for fraud or defalcation while acting
 +          $78    administrative fee                                 in a fiduciary capacity,
           $313    total fee
                                                                     most criminal fines and restitution
                                                                      obligations,
 Chapter 13 is for individuals who have regular
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
 and to discharge some debts that are not paid.                      certain debts for acts that caused death or
 You are eligible for chapter 13 only if your                         personal injury, and
 debts are not more than certain dollar amounts                      certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


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                                                                 A married couple may file a bankruptcy case
     Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                 forms/bankruptcy/credit-counseling-and-debtor-
 Make sure the court has your                                    education-courses.
 mailing address                                                 In Alabama and North Carolina, go to:
 The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
 mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
 for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
 Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
 information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
 Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
 any changes in your address.


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